     Case 3:18-cv-01423-MJR-RJD Document 22 Filed 01/31/19 Page 1 of 2 Page ID #56




 1                                UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF ILLINOIS
 2
 3
                                                     ) Case No. 3:18-cv-1423
 4   CARMEN KOHLER,                                  )
                                                     ) Chief Judge Michael J. Reagan
 5                  Plaintiffs,                      ) Magistrate Judge Reona J. Daly
                                                     )
 6          v.                                       )
                                                     )
 7   CAPITAL ONE BANK (USA) N.A.,                    )
                                                     )
 8                                                   )
                    Defendant.
 9                                                   )
                                                     )
10                                                   )
                                                     )
11
12
13                                     NOTICE OF SETTLEMENT

14          Plaintiff CARMEN KOHLER notifies this Court that Plaintiff and Defendant CAPITAL

15   ONE BANK (USA), N.A., have resolved all claims between them in this matter and are in the
16   process of completing the final settlement documents and filing the appropriate dismissal
17
     pleadings. The parties request that the Court retain jurisdiction for sixty (60) days for any matters
18
     related to completing and/or enforcing the settlement and stay all remaining discovery deadlines.
19
                                  Respectfully submitted the 31st day of January 2019.
20
21
                                                           By: /s/ Peter Cozmyk
22                                                         Peter Cozmyk
                                                           Cozmyk Law Offices, LLC
23                                                         6100 Oak Tree Blvd., Ste 200
24                                                         Independence, OH 44131
                                                           (877) 570-4440
25                                                         pcozmyk@cozmyklaw.com
                                                           Attorney for Plaintiff,
                                                           CARMEN KOHLER

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                                         NOTICE OF SETTLEMENT
     Case 3:18-cv-01423-MJR-RJD Document 22 Filed 01/31/19 Page 2 of 2 Page ID #57




 1
                                   CERTIFICATE OF SERVICE
 2
            I certify that on January 31, 2019 I filed Plaintiff CARMEN KOHLER’s Notice of
 3
     Settlement using the CM/ECF system, which will provide notice to the following:
 4
 5
 6   Colby A. Kingsbury (ARDC #6272842)
     FAEGRE BAKER DANIELS LLP
 7   311 South Wacker Drive, Suite 4300
 8   Chicago, Illinois 60606
     (312) 212-6500
 9   Colby.Kingsbury@FaegreBD.com
     Attorney for Defendant
10   Capital One Bank (USA) N.A.
11
     Erin Leigh Hoffman
12   Faegre Baker Daniels LLP
     2200 Wells Fargo Center
13   90 South Seventh Street
     Minneapolis, MN 55402-3901
14   612-766-7000
     Fax: 612-766-1600
15
     Email: erin.hoffman@faegrebd.com
16
17                                                     By: /s/ Peter Cozmyk
                                                       Peter Cozmyk
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21                                                     Attorney for Plaintiff,
                                                       CARMEN KOHLER
22
23
24

25



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                                     NOTICE OF SETTLEMENT
